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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                  IN THE UNITED STATES DISTRICT COURT                    June 13, 2016
                   FOR THE SOUTHERN DISTRICT OF TEXAS                 David J. Bradley, Clerk
                            HOUSTON DIVISION

GRIER PATTON and                §
CAMILLE PATTON,                 §
                                §
     Plaintiffs,                §
                                §
and                             §
                                §
DAVID A. FETTNER,               §               CIVIL ACTION NO. H-15-1371
                                §
     Receiver,                  §
                                §
v.                              §
                                §
MID-CONTINENT CASUALTY COMPANY, §
                                §
     Defendant.                 §

                      MEMORANDUM AND RECOMMENDATION

      Pending before the court1 is Defendant’s Motion for Judgment

on the Pleadings (Doc. 14).        The court has considered the motion,

the response, the reply, the response to the reply, the documents

attached to the pleadings, and the applicable law. For the reasons

set forth below, the court RECOMMENDS that the motion be GRANTED.

                            I.   Case Background

      This   insurance     dispute    centers    on   coverage    obligations

allegedly owed by Defendant to satisfy a judgment entered against

its insured Black Diamond Builders, L.L.P., (“Black Diamond”), a

residential home builder, in favor of Plaintiffs.




      1
            This case was referred to the undersigned magistrate judge pursuant
to 28 U.S.C. § 636(b)(1)(A) and (B), the Cost and Delay Reduction Plan under the
Civil Justice Reform Act, and Federal Rule of Civil Procedure 72. See Doc. 7.
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A.   Insurance Policies

      Defendant issued insurance policies for commercial general

liability (“CGL”) that identified Black Diamond as a named insured

and provided yearly coverage periods from July 7, 2004, through

July 7, 2009.2     Pursuant to each of the policies, Defendant agreed

to pay “those sums that the insured bec[ame] legally obligated to

pay as damages because of ‘bodily injury’ or ‘property damage’ to

which [the] insurance applie[d].”3 In general terms, the insurance

covered bodily injury or property damage caused by an occurrence

within the coverage territory and the policy period.4

      The policy excluded, inter alia, coverage for damage to

certain property.5 Policy exclusion j(5) stated that the insurance

did not apply to property damage to “[t]hat particular part of real


      2
             See Doc. 1-3, Ex. 3 to Notice of Removal, Pls.’ Original Pet. p. 2;
Doc. 1-3, Ex. 3-A to Notice of Removal, Certificate of Liab. Ins. Effective July
7, 2004, to July 7, 2005; Doc. 1-3, Ex. 3-B to Notice of Removal, Certificate of
Liab. Ins. & Com. Gen. Liab. Pol’y Effective July 7, 2005, to July 7, 2006; Doc.
1-4, Ex. 3-C to Notice of Removal, Certificate of Liab. Ins. & Com. Gen. Liab.
Pol’y Effective July 7, 2006, to July 7, 2007; Doc. 1-5, Ex. 3-D to Notice of
Removal, Com. Gen. Liab. Pol’y Effective July 7, 2007, to July 7, 2008; Doc. 1-6,
Ex. E to Notice of Removal, Com. Gen. Liab. Pol’y Effective July 7, 2008, to July
7, 2009; Doc. 10, Def.’s 1st Am. Answer pp. 2-3.
      3
            Doc. 10-1, p. 14 of 63, Ex. A to Def.’s 1st Am. Answer, Com. Gen.
Liab. Pol’y Effective July 7, 2004, to July 7, 2005, Com. Gen. Liab. Coverage
Form § I(1)(a). The policies for the different coverage periods were identical
in all relevant aspects. To simplify the footnotes herein, the court cites only
to the earliest issued policy of the five policies that the parties submitted.
      4
            Doc. 10-1, p. 14 of 63, Ex. A to Def.’s 1st Am. Answer, Com. Gen.
Liab. Pol’y Effective July 7, 2004, to July 7, 2005, Com. Gen. Liab. Coverage
Form § I(1)(b).
      5
            See Doc. 10-1, p. 31 of 63, Exclusion — Damage to Work Performed by
Subcontractors on Your Behalf Endorsement CG 22 94; Doc. 10-1, p. 52 of 63,
Residential Contractor Extension A Homebuilders Division Endorsement ML 11 91 (04
00).

                                       2
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property on which you [Black Diamond] or any contractors or

subcontractors       working     directly     or   indirectly    on   your   [Black

Diamond’s] behalf [we]re performing operations, if the ‘property

damage’    ar[ose]    out   of    those     operations.”6       Exclusion     l,     as

modified by Endorsement CG 22 94 10 01, stated that insurance

coverage did not apply to:

      l.    Damage To Your Work

           “Property damage” to “your work” arising out of it
      or any part of it and included in the “products-completed
      operations hazard.”7

The endorsement modified exclusion l of the policy by eliminating

the exception “if the damaged work or the work out of which the

damage ar[ose] was performed on your behalf by a subcontractor.”8

      The policy defined “your work” to mean work or operations

performed by Black Diamond or on Black Diamond’s behalf and

“[m]aterials, parts or equipment furnished in connection with such

work or operations,” including warranties or representations made

at any time with respect to the fitness, quality, durability,

performance or use of ‘your work’” and “[t]he providing of or




      6
            Doc. 10-1, p. 52 of 63, Residential             Contractor   Extension    A
Homebuilders Division Endorsement ML 11 91 (04 00).
      7
            Doc. 10-1, p. 31 of 63, Exclusion — Damage to Work Performed by
Subcontractors on Your Behalf Endorsement CG 22 94 10 01.
      8
            Compare Doc. 10-1, p. 17 of 63, Ex. A to Def.’s 1st Am. Answer, Com.
Gen. Liab. Pol’y Effective July 7, 2004, to July 7, 2005, Com. Gen. Liab.
Coverage Form § I(2)(l) with Doc. 10-1, p. 31 of 63, Exclusion — Damage to Work
Performed by Subcontractors on Your Behalf Endorsement CG 22 94 10 01.

                                          3
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failure to provide warnings or instructions.”9           The policy defined

“products-completed operations hazard” to include all bodily injury

and    property    damage    occurring   away   from   Black   Diamond’s      own

premises and arising out of Black Diamond’s product or work.10

B.    Arbitration and Enforcement Suit

       The dispute between Plaintiffs and Black Diamond centered on

damage to Plaintiffs’ residence due to foundation issues.11                    An

arbitration case was opened in December 2010 to resolve the

dispute.12     After much prehearing litigation, the only remaining

parties were Plaintiffs and Black Diamond.13             The hearing on the

merits began with the presentation of opening statements and

evidence on August 25, 2014.14        The hearing continued on September

3, 2014.15    On October 21, 2014, the arbitrator entered an Award of

Arbitrator (“Award”).16

       The arbitrator found that the evidence showed “both design and

      9
            Doc. 10-1, p. 29 of 63, Ex. A to Def.’s 1st Am. Answer, Com. Gen.
Liab. Pol’y Effective July 7, 2004, to July 7, 2005, Com. Gen. Liab. Coverage
Form § V(22).
      10
            Doc. 10-1, p. 28 of 63, Ex. A to Def.’s 1st Am. Answer, Com. Gen.
Liab. Pol’y Effective July 7, 2004, to July 7, 2005, Com. Gen. Liab. Coverage
Form § V(16)(including exceptions that are not applicable in this case).
      11
            See Doc. 1-7, Ex. 3-F-1 to Notice of Removal, Award of Arbitrator
(“Award”) p. 1.
       12
             See id.
       13
             See id.
       14
             See id.
       15
             See id.
       16
             See id. p. 4.

                                         4
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construction        errors    led    to    [Plaintiffs’]      damage.”17       While

acknowledging that other design and contracting entities were

involved in the design and construction of “the residence and pool”

and the resulting problems, the arbitrator found that the evidence

“clearly established” Black Diamond’s “significant culpability.”18

       The arbitrator held Black Diamond, as the main building

contractor, at least fifty-one percent liable for Plaintiffs’

damage resulting from negligence in its own work and negligent

supervision of others.19        In particular, the arbitrator noted, the

evidence showed that the foundation of Plaintiffs’ house was not

elevated to plans or applicable code, preventing positive drainage

away from the house and resulting in the foundation’s settling and

heaving that caused significant damage to the entire structure.20

The    arbitrator     found   that       Black   Diamond’s    “actions     seriously

affected the work of other contractors on the project (including

both    the   subcontractors        of    [Black   Diamond]    and   the    separate

contractors hired by [Plaintiffs].”21

       The arbitrator found that repairing the house would cost more




       17
              Id. p. 2.
       18
              Id. pp. 2, 3.
       19
              See id. p. 3.
       20
              See id. p. 2.
       21
              Id.

                                            5
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than the market value of the house.22                Therefore, the arbitrator

based the damage model on the market value of the house without

impairment23 less the value of the underlying land and, in addition

to that amount, awarded engineering and consulting fees, attorneys’

fees, and prejudgment interest, which totaled $2,935,944.24                    The

arbitrator separately awarded reimbursement of Plaintiffs’ fees,

compensation, and expenses of the American Arbitration Association

and the arbitrator.25          The Award allowed Black Diamond forty-five

days from the date of the Award to make payment, after which six-

percent interest would begin to accrue on the Award amount.26

       Plaintiffs filed an application to confirm and enforce the

Award.27     Black Diamond failed to appear or answer after service.28

On January 12, 2015, the 55th Judicial District Court of Harris

County, Texas, entered Judgment in favor of Plaintiffs, confirming

the    Award     against   Black    Diamond    and    reducing   the   Award   to


       22
               See id.
      23
            In one part of the Award, the arbitrator described the damage model
as subtracting the value of the underlying land from “the unrepaired value of the
home” versus “value without impairment” as stated in his statement of Award.
Compare id. p. 2 with id. p. 3.         The court reads the reference to the
“unrepaired” value to be an error, likely intended to be “unimpaired” value
consistent with the Award itself. Otherwise, the Award would not have covered
Plaintiffs’ damages for wrong that occurred.
       24
               See id. p. 3.
       25
               See id.
       26
               See id.
       27
               See Doc. 1-7, Ex. 3-F to Notice of Removal, Judgment Dated Jan. 12,
2015 p. 1.
       28
               See id.

                                         6
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judgment.29        The court also assessed five-percent post-judgment

interest commencing thirty days after the date of the Judgment.30

      After conducting extra-judicial, post-judgment discovery and

attempting to collect the Judgment, Plaintiffs sought assistance

from the state court.31            On March 16, 2015, the court entered an

Order for Turnover Relief and Appointment of Receiver (“Turnover

Order”) that named David Fettner as Receiver to pursue the assets

of Black Diamond for satisfaction of the judgment.32               Additionally,

the court ordered Black Diamond to turn over to Receiver specific

documentation related to insurance coverage under the policies

issued     by     Defendant,       including   correspondence    and    insurance

proceeds related to Plaintiffs’ claims.33

C.   History of this Lawsuit

      On April 13, 2015, Plaintiffs filed their original petition in

the 269th Judicial District Court of Harris County, Texas.34

Defendant removed the action within thirty days of being served.35

In the original petition, Plaintiffs described the gravamen of


      29
                See id. pp. 1-3.
      30
                See id. p. 2.
      31
            See Doc. 1-7, Ex. 3-G to Notice of Removal, Order on Turnover Relief
& Appointment of Receiver p. 1.
      32
                See id.
      33
                See id. pp. 2-3.
      34
                See Doc. 1-3, Ex. 3 to Notice of Removal, Pls.’ Original Pet. p. 1.
      35
                See Doc. 1, Notice of Removal p. 2.

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their lawsuit to be the satisfaction of the Judgment through

collection of insurance proceeds as successors-in-interest to Black

Diamond’s claims under the aforementioned policies.36

       In addition to seeking the payment of insurance proceeds,

Plaintiffs alleged breach of contract, bad faith, and unfair

settlement practices pursuant to Texas common and statutory law.37

For    these     claims,    Plaintiffs     requested      actual    and    punitive

damages.38      Plaintiffs attached the insurance certificates and/or

policies for the coverage years 2004 through 2009, the Judgment

with Award attached, the Turnover Order, and Defendant’s responses

to Black Diamond’s notice of claim.39

       On May 15, 2015, Defendant filed an answer in state court,

asserting a general denial.40            On May 21, 2015, Defendant timely

removed the case to this court.41             On June 24, Defendant filed an

amended answer that complied with federal filing standards.42

Defendant raised the defense that the loss suffered by Plaintiffs

did not fall within the insuring agreement and/or fell within the

exclusionary       language     of   endorsement     ML   11   91    (04    00)   or

       36
               See Doc. 1-3, Ex. 3 to Notice of Removal, Pls.’ Original Pet. p. 3.
       37
               See id. pp. 5-12.
       38
               See id. p. 13.
       39
               See Doc. 1-3 to 1-8, Exs. A-J to Pls.’ Original Pet.
       40
               See Doc. 1-9, Ex. 6 to Notice of Removal, Def.’s Original Answer.
       41
               See Doc. 1, Notice of Removal.
       42
               See Doc. 10, Def.’s 1st Am. Answer.

                                          8
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endorsement CG 22 94 10 01.43

                    II. Judgment on the Pleadings

     Pursuant to Rule 12(c), a party may move for judgment on the

pleadings after the pleadings are closed and early enough in the

litigation not to delay trial.          “Judgment on the pleadings is

appropriate only if material facts are not in dispute and questions

of law are all that remain.”        Voest-Alpine Trading USA Corp. v.

Bank of China, 142 F.3d 887, 891 (5th Cir. 1998)(citing Hebert

Abstract Co. v. Touchstone Props., Ltd., 914 F.2d 74, 76 (5th Cir.

1990).

     The same standard is used in considering a motion for judgment

on the pleadings as is used in considering a Rule 12(b)(6) motion

to dismiss.    Gentilello v. Rege, 627 F.3d 540, 543-44 (5th Cir.

2010).    Rule 12(b)(6) allows dismissal of an action whenever the

complaint, on its face, fails to “state a claim upon which relief

can be granted.”    When considering a motion to dismiss, the court

should construe the allegations in the complaint favorably to the

pleader and accept as true all well-pleaded facts.            Sullivan v.

Leor Energy, LLC, 600 F.3d 542, 546 (5th Cir. 2010).

     A complaint need not contain “detailed factual allegations”

but must include sufficient facts to indicate the plausibility of

the claims asserted, raising the “right to relief above the

speculative level.”    Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555


     43
           See id. pp. 6-8.

                                    9
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(2007); see also Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

Plausibility means that the factual content “allows the court to

draw the reasonable inference that the defendant is liable for the

misconduct alleged.”      Iqbal, 556 U.S. at 678.        A plaintiff must

provide   “more    than   labels   and    conclusions”   or   “a   formulaic

recitation of the elements of a cause of action.”             Twombly, 550

U.S. at 555.      In other words, the factual allegations must allow

for an inference of “more than a sheer possibility that a defendant

has acted unlawfully.”      Iqbal, 556 U.S. at 678.

     In addition to those facts contained in the plaintiff’s

pleading, the court also may consider the contents of documents

attached to the pleadings.          Brand Coupon Network, L.L.C. v.

Catalina Mktg. Corp., 748 F.3d 631, 635 (5th Cir. 2014)(quoting

Collins v. Morgan Stanley Dean Witter, 224 F.3d 496, 498 (5th Cir.

2000)); see also Fed. R. of Civ. P. 10(c)(“A copy of a written

instrument that is an exhibit to a pleading is a part of the

pleading for all purposes.”).

                           III. Insurance Law

     Under Texas law, the insured generally bears the initial

burden of establishing that there is coverage under an applicable

insurance policy, while it is the insurer’s burden to prove the

applicability of an exclusion permitting it to deny coverage.               See

Nat’l Union Fire Ins. Co. of Pittsburgh, Pa. v. Puget Plastics

Corp., 532 F.3d 398, 401, 404 (5th Cir. 2008)(applying Texas law);


                                     10
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see also Tex. Ins. Code § 554.002 (placing the burden on the

insurer to prove the applicability of an exclusion).                        If the

insurer is successful, the burden shifts back to the insured to

prove that the exclusion does not apply or an exception to the

exclusion      applies.        Century    Sur.    Co.   v.     Hardscape   Constr.

Specialties, Inc., 578 F.3d 262, 265 (5th Cir. 2009)(applying Texas

law).

        Insurance policies are subject to the rules of contract

interpretation.        Tanner v. Nationwide Mut. Fire Ins. Co., 289

S.W.3d 828, 831 (Tex. 2009).            In construing the terms of a written

contract, the court’s primary purpose is always to “ascertain the

true intent of the parties as expressed in the instrument.”                  Nat’l

Union Fire Ins. Co. of Pittsburgh, Pa. v. CBI Indus., 907 S.W.2d

517, 520 (Tex. 1995); see also Tanner, 289 S.W.3d at 831.                  To this

end, the court is to read the contract as a whole and to give

effect to each term so that no part of the agreement is left

without meaning.           Gilbert Tex. Constr., L.P. v. Underwriters at

Lloyd’s London, 327 S.W.3d 118, 126 (Tex. 2010).                  When a contract

as worded can be given “a definite or certain legal meaning,” then

it is unambiguous as a matter of law, and the court enforces it as

written.      CBI Indus.,907 S.W.2d at 520; see also Fiess v. State

Farm Lloyds, 202 S.W.3d 744, 746 (Tex. 2006).

        In   Texas,   an    insurer’s    duty    to   defend   and   its   duty   to

indemnify are two “distinct and separate” duties.                    Ewing Constr.


                                          11
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Co. v. Amerisure Ins. Co., 420 S.W.3d 30, 33 (Tex. 2014).            The duty

to indemnify is triggered only by the actual facts establishing the

insured’s liability in the underlying adjudication.               See ACE Am.

Ins. Co. v. Freeport Welding & Fabricating, Inc., 699 F.3d 832, 844

(5th Cir. 2012)(applying Texas law)(citing Gilbane Bldg. Co. v.

Admiral Ins. Co., 664 F.3d 589, 601 (5th Cir. 2011)(applying Texas

law))(“[T]he duty to indemnify . . . is controlled by the facts

that establish liability in the underlying suit.”).           A plaintiff’s

success in the underlying adjudication on a claim that is covered

by the insurance policy triggers the duty to indemnify.                  Mid-

Continent    Cas.   Co.   v.   Castagna,   410    S.W.3d   445,    450   (Tex.

App.—Dallas 2013, pet. denied).

     Therefore, the court must “consider facts outside of those

alleged in the petition in determining the duty to indemnify.”

Gilbane Bldg. Co., 664 F.3d at 601 (citing Burlington N. & Santa Fe

Ry. Co. of Pittsburgh, Pa. v. Nat’l Union Fire Ins. Co., 334 S.W.3d

217, 219 (Tex. 2011)). In order to determine whether Defendant has

a duty to indemnify here, the court compares the Award with the

insurance policies.

                               IV.   Discussion

     For purposes of its motion for judgment on the pleadings,

Defendant assumes that Plaintiffs’ claim fits within the coverage

provisions of the insurance contract.44           Instead of challenging


     44
            See Doc. 14, Defendant’s Mot. for J. on the Pleadings pp. 2, 9.

                                      12
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coverage, then, Defendant points to the two exclusions for damage

to Black Diamond’s work (“Your Work Exclusions”), arguing that one

of the two precludes coverage regardless of the date on which the

damage occurred.

     Plaintiffs disagree with Defendant that the exclusions apply

to the Award.    Plaintiffs contend:

     The Award of Arbitrator at page 3 particularly references
     “. . . (both negligence of its own work and negligent
     supervision of others) against Black Diamond.”        The
     Award, at page 2, particularly excludes considering the
     “Other design and contracting entities involved in the
     building of the residence and pool in question. . . .
     Those parties and [Plaintiffs] were involved in companion
     litigation, but were ultimately not in the instant
     arbitration.” . . . The work of those other parties are
     [sic] nowhere claimed by Defendant to be subcontractors
     or otherwise within the exclusion of the “Your Work”
     exception.   This alone raises the issue of damage by
     Defendant outside of the “Your Work” exclusion.
          . . . For the reason that the Award of Arbitrator
     ipso facto limited itself to the damages occasioned by
     this builder/general contractor defendant to the pool and
     premises [sic]     These two (2) sets of damages are
     considered as one in the Award. The fact is the Award
     makes separate reference to the pool as a separate
     construction independent of the home, albeit affected by
     the   builder/general    contractor’s    defective   site
     preparation and negligent supervision.       Contrary to
     Defendant’s footnote, the arbitrator’s award does not
     make “clear that the only damages awarded are those for
     damages to Plaintiffs’ house.” The Award could be more
     clear, but this too becomes a question of fact where
     otherwise a reasonable inference can be drawn to the
     benefit of Plaintiffs, as to the pool and other work not
     related to the house construction or even a part thereof,
     which was the work of others, and was damaged by the
     insured builder/general contractor.45



     45
            Doc. 21, Pls.’ Resp. to Def.’s Mot. for J. on the Pleadings p. 7
(underlining in original).

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In their response to Defendant’s reply, Plaintiffs further explain

their position:

      Defendants’ [sic] Reply stating [sic] the “Plaintiffs
      mistakenly contend the Arbitrator awarded damages against
      Black Diamond for the pool . . . .” [sic] As a part of
      the general contractor’s work product. [sic] However this
      comment is Defendant’s misunderstanding of Plaintiffs’
      observation that the Arbitrator actually did not consider
      the pool in premises damages, particularly excluding it
      as “separate from the home structure[.”] All of this
      Defendant’s dialogue and premises ignore the obvious: The
      Arbitrator acknowledged the work of others in considering
      and assessing his damage award as particularly stated in
      his findings.46

      Deconstructing Plaintiffs’ argument, the court understands

Plaintiffs to contend that the Award left open the possibility that

independent contractors performed work on the house and pool and,

if Black Diamond’s negligence damaged that work, it would not be

excluded from policy coverage.47            This argument does not comport

with the language of the Award or the language of the policy

exclusions.

      The Award language reflects that the arbitrator recognized


      46
            Doc. 26, Pls.’ Resp. to Def.’s Reply to Pls.’ Resp. to Def.’s Mot.
for J. on the Pleadings p. 2 (underlining in original).
      47
            Plaintiffs cited Wilshire Ins. Co. v. RJT Constr., LLC, 581 F.3d 222,
      th
226 (5 Cir. 2009), as clarifying that the work of a company hired to repair the
foundation did not include damage to other property resulting from defective
work, such as walls and ceilings. See Doc. 21, Pls.’ Resp. to Def.’s Mot. for
J. on the Pleadings p. 9. That case involved a company hired only to perform
foundation repairs. See Wilshire Ins. Co., 581 F.3d at 224. Six years after the
repairs, cracks in the walls and ceilings suddenly appeared, and the homeowner
subsequently sued the foundation company. Id. The court found that the Your
Work Exclusion in the company’s CGL policy precluded coverage for repairing the
foundation, which was the work performed by the insured, but did not exclude
coverage for damage to other parts of the house, including the walls and
ceilings. See id. at 227. As explained in this memorandum, Black Diamond was
the homebuilder/general contractor (not just the foundation repairer) whose work
was the entire house (not just the foundation).

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Black Diamond as the homebuilder/general contractor and, as such,

recognized the entire structure to be Black Diamond’s work.                 This

is consistent with Texas law.               See Wilshire Ins. Co. v. RJT

Constr., LLC, 581 F.3d 222, 226 (5th Cir. 2009)(applying Texas law

& discussing Lamar Homes Inc. v. Mid-Continent Cas. Co., 242 S.W.3d

1, 11 (Tex. 2007)); Feaster v. Mid-Continent Cas. Co., Civil Action

No. 4:13-CV-3220, 2015 WL 164041, at *5 (S.D. Tex. Jan. 13,

2015)(slip copy).      The Award thus compensated Plaintiffs only for

the damage to the structure itself.           Several aspects of the Award

highlight this approach, for example: (1) the arbitrator’s repeated

reference to damage to the structure itself; (2) the arbitrator’s

omission of any discussion of specific damage to the work of

others; and (3) the arbitrator’s choice of damage models, which

measured    the   difference     in   value   of   the   entire    structure.

Acknowledging the work of others is not the same as awarding

compensation for damage to the work of others.48

      More important, though, is the language of the exclusions.



      48
             The only mention of the work of others is when the arbitrator allowed
that Black Diamond’s negligence “seriously affected the work of other contractors
on the project,” including subcontractors and “separate contractors.” Doc. 1-7,
Ex. 3-F-1 to Notice of Removal, Award p. 2 (emphasis added). The arbitrator did
not specifically mention damage to the work of other contractors or specify any
further how it affected the work of other contractors. Plaintiffs argued that
damage to the irrigation system and pool was damage to the work of others. This
ignores the reality that no such damages were included in the Award.
      On that point, Plaintiffs argue that they do not bear the burden of showing
that the work of independent contractors was damaged, but, rather, the burden
belongs to Defendant to disprove that the work of independent contractors was
damaged. Because the court interprets the Award to cover only damage to work
performed by Black Diamond or on Black Diamond’s behalf, Defendant met its
burden.

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Both exclusions covered Black Diamond’s work and work performed on

its behalf.     Exclusion j(5) precluded coverage of property damage

on which Black Diamond or “any contractors or subcontractors

working    directly    or   indirectly     on   [Black    Diamond’s]     behalf”

performed operations.49      Exclusion l precluded coverage of property

damage to “your work,” which the policy defined to mean work

performed by Black Diamond or on Black Diamond’s behalf.50                 Thus,

they both cover, in addition to Black Diamond’s own work, work by

others performed on Black Diamond’s behalf.

      Plaintiffs draw a distinction between subcontractors and

independent contractors, arguing the former is included in the

exclusions but not the latter.             The policy language is not so

limited.    Exclusion j(5) specifically covered both contractors and

subcontractors, and exclusion l imposed no limitation on what type

of entity might be performing work on Black Diamond’s behalf.51

Because Black Diamond was the homebuilder/general contractor, all

of the work performed by others on the house as a whole was

performed on Black Diamond’s behalf for the completion of the

house.



      49
            Doc. 10-1, p. 52 of 63, Residential          Contractor   Extension   A
Hombuilders Div. Endorsement ML 11 91 (04 00).
      50
            Doc. 10-1, p. 31 of 63, Exclusion — Damage to Work Performed by
Subcontractors on Your Behalf Endorsement CG 22 94 10 01.
      51
            The standard policy language of exclusion l, which excepted the work
of subcontractors, was modified by endorsement specifically to exclude all work
performed by others on behalf of Black Diamond.

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      As    another    point   of   opposition,   Plaintiffs      argue    that

Defendant “assumes facts not in evidence, e.g., when the negligence

occurred” and that “neither the Award of Arbitrator, nor the

Plaintiffs’ Complaint define when the damages occurred so as to be

subject to any timed exclusion, and the burden to prove the facts

supporting the exclusion would devolve to the Defendant, who makes

no offer of proof in that regard.”52

      Contrary to Plaintiffs’ assertion, Defendant’s argument does

not require an assumption about when the damages occurred other

than that the damages occurred during a covered policy period. For

purposes of the exclusions, Defendant argues that it does not

matter when the damages occurred because the two exclusions, j(5)

and l, cover the entire insured period.           According to the policy

terms,     exclusion   j(5)    precludes   coverage    if   the   damage    to

Plaintiffs’ house occurred while Black Diamond was building the

house, and exclusion l precludes coverage if the property damage

occurred after Black Diamond had completed the house.             Therefore,

the actual occurrence date is immaterial.

      Plaintiff further contends:

      Only if the “Your Work” exclusion plays in the issue of
      when does the “when” have any enforceable significance;
      if this is not intended to an analysis [sic] not
      considered where work is being damaged, then the policy
      would neither cover work in progress nor completed work,
      which would render the policy a farce as never covering


      52
            Doc. 21, Pls.’ Resp. to Def.’s Mot. for J. on the Pleadings pp. 2,
8 (underlining in original).

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     anything, irrespective of the “Your Work” reference.53

The court does not fully understand what point Plaintiffs are

making in the quoted paragraph but understands their argument

generally to be that the exclusions, as applied to exclude coverage

for the Award, write out all coverage of the policy.

     Exclusions j(5) and l are among several “business risk”

exclusions that are commonly included in CGL policies.              See Mid-

Continent Cas. Co. v. JHP Dev., Inc., 557 F.3d 207, 211-12 (5th Cir.

2009)(citing cases)(applying Texas law); Feaster, 2015 WL 164041,

at *5.    As explained by the Fifth Circuit, “A CGL policy generally

protects the insured when his work damages someone else’s property.

The ‘your work’ exclusion prevents a CGL policy from morphing into

a performance bond covering an insured’s own work.”           Wilshire Ins.

Co., 581 F.3d at 226.       In other words, CGL policies do not cover

damage to the insured’s work or to work performed on the insured’s

behalf regardless of when the damage occurred because that is not

the purpose of CGL coverage.        CGL policies do cover damage to the

work of others caused by the insured.          The policy is not a “farce”

empty of any coverage.

     The   arbitrator’s     findings,     as   articulated   in   the   Award,

conclusively establish that the damages awarded were excluded from

coverage by either exception j(5) or exception l.

     Plaintiffs request an opportunity to amend their pleading but


     53
            Id. p. 13 (underlining in original).

                                     18
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offer no indication of how they would amend or how they believe the

amendment would affect the court’s decision.                No amendment would

change the result.       The request to amend is DENIED.

                               V.     Conclusion

       Based on the foregoing, the court RECOMMENDS that Defendant’s

Motion for Judgment on the Pleadings be GRANTED.

       The   Clerk     shall   send      copies    of   this   Memorandum      and

Recommendation to the respective parties who have fourteen days

from   the   receipt    thereof     to   file     written   objections   thereto

pursuant to Rule 72(b) and General Order 2002-13.              Failure to file

written objections within the time period mentioned shall bar an

aggrieved party from attacking the factual findings and legal

conclusions on appeal.

       The original of any written objections shall be filed with the

United States District Clerk electronically.                   Copies of such

objections shall be mailed to opposing parties and to the chambers

of the undersigned, 515 Rusk, Suite 7019, Houston, Texas 77002.

       SIGNED in Houston, Texas, this 13th           day of June, 2016.




                                              ______________________________
                                                 U.S. MAGISTRATE JUDGE



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